                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

    UNITED STATES OF AMERICA,                              )
                                                           )
                          Plaintiff,                       )
                                                           )
                  V.                                       )       No. 4:22 MJ 8129 SRW

    JEROME WILLIAMS,                         )
                                             )
                       Defendant.            )
                                             )
                    MOTION FOR PRETRIAL DETENTION AND HEARING

           Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

    United States Attorney for the Eastern District of Missouri, and Nathan Chapman and Angie E.

    Danis, Assistant United States Attorneys for said District, and move this Comt to order the

    defendant detained pending trial, and fmther requests that a detention hearing be held at the time

    defendant's initial appearance before the United States Magistrate Judge pursuant to Title 18,

    United States Code, Section 3141, et. seq., and per cunent guidance from the Comt.

           As for its grounds for detention, the government requests this Comt to consider the

    following factors pursuant to Title 18, United States Code, Section 3142.

                                       Presumption of Detention

           1.      The defendant is charged with destruction of evidence to obstruct a federal

    investigation. This is an offense for which the statutorily mandated punishment is no more than

    20 years imprisonment, but there is no presumption of detention in this matter.


                            The Nature and Circumstances of the Offense

           2.      Title 18, United States Code, Section 3142(g) requires this Comt to consider the

    nature and characteristics of the offense charged, including whether the offense is a controlled

    substance offense or a crime of violence. The instant charge is not considered a crime of violence,
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but as evidenced in the Complaint Affidavit, the instant offense involves the destruction of

evidence relative to a murder.

                      The Weight of the Evidence Against the Defendant

       3.      Section 3142(g)(2) requires this Court to consider the weight of the evidence

against the defendant. The government submits that the evidence against the defendant is strong

and relies on the facts as aiticulated in the Complaint Affidavit in reliance on same.

                      The History and Characteristics of the Defendant

       4.      The defendant is cmTently on supervised release after having served 420 months in

the Bureau of Prisons for charges of kidnapping resulting in death. He was released in 2021.

                The Nature and Seriousness of the Danger to the Community

       5.      The defendant engaged in the destrnction of direct evidence of the murder of T.A.

Fmthermore, given how briefly T.A. was in St. Louis prior to being murdered (less than one hour

after his flight landed), the Government believes that this homicide was planned.

                                          Risk of Flight

       6.      There a serious risk that the defendant will flee because she is facing a significant

sentence in this case, based on the severity of the charges and his alleged role in the offense and

fmther potential charges relating to the homicide of T.A.

                                            Conclusion

       7.      The government submits that when considering all of the factors outlined in Title

18, United States Code, § 3142(g), the factors weigh heavily in favor of detention. There is clear

and convincing evidence that no condition or combination of conditions that will reasonably assure
    the safety of any other person and the community as well as the appearance of the defendant.

                                                        Respectfully submitted,

                                                        SAYLER A. FLEMING
                                                        United States Attorney


                                                       Isl Nathan Chapman
                                                       NATHAN CHAPMAN, #60978MO
                                                       ANGIE E. DANIS, #64805MO
                                                       Assistant United States Attorneys




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